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Attorne
City of

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA, FRESNO DIVISION

ROGER McINTOSH,
Plaintiff,

vs.

NORTHERN CALIFORNIA
UNIVERSAL ENTERPRISES
COMPANY, a California corporation;
LOTUS DEVELOPMENTS, LP; THE
CITY OF WASCO, a municipal
corporation, and DOES 1 through 50,
inclusive,

Defendants.

CITY OF WASCO,
Cross-Complainant,

VS.

NORTHERN CALIFORNIA
UNIVERSAL ENTERPRISES
COMPANY, a California corporation,

Cross-Defendant,

/T/

4827-1732-0706

CASE NO.: 1:07-CV-01080LJO-GSA

CROSS-COMPLAINT FOR

CONTRACTUAL INDEMNITY

[California Civil Code § 2772]; JURY
RIAL DEMAND

CROSS-COMPLAINT FOR CONTRACTUAL INDEMNITY

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Defendant/Cross-Complainant City of Wasco (the “City”) alleges:

1. This Court has supplemental jurisdiction over the claims asserted
herein pursuant to 28 U.S.C. § 1367(a) in that they are related to the claims alleged
in the First Amended Complaint on file in this action.

2. The City is and was at all times mentioned herein a municipal
corporation formed and organized under the laws of the State of California.

3. Defendant and Cross-Defendant Northern California Universal
Enterprises Company (“Cross-Defendant”) is and was at all times mentioned
herein a California Corporation.

4. Defendants DOE 1 through DOE 50, inclusive, are sued herein under
fictitious names. Their true names and capacities are unknown to plaintiff. When
their true names and capacities are ascertained, Cross-Complainant will amend this
complaint by inserting their true names and capacities herein. Cross-Complainant
is informed and believes and thereon alleges that each of the fictitiously named
defendants is responsible in some manner for the occurrences herein alleged, and
that Cross-Complainant’s damages as herein alleged were proximately caused by
those defendants. Each reference in this complaint to “cross-defendant,”
"defendant," "defendants," or a specifically named defendant or cross-defendant
refers also to all defendants sued under fictitious names.

5. On or about April 6, 2004, the City and Wasco Project, LLC entered
into a Purchase and Sale Agreement (“Agreement”) with respect to property
commonly known as Valley Rose Estates. Wasco Project, LLC was to acquire the
Valley Rose Estates from the City of Wasco under the Agreement. Amongst other
provisions, Wasco Project, LLC agreed, under section 6.3 of the Agreement, to
purchase the property “as is” and without any warranties or representations from
the City as to the property, improvements, contract rights or entitlements thereto,
or as to the property’s condition, state of repair or fitness for use.

6. | Wasco Project, LLC further agreed, under section 8 of the Agreement,
to indemnify and hold the City harmless from “any and all claims, demands,

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CROSS-COMPLAINT FOR CONTRACTUAL INDEMNITY

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losses, obligations, costs and expenses (including without limitation attorneys’ fees
and court costs) which arise out of ... the ownership or operation of the Property
after Closing.”

7. Wasco Project, LLC was unable to obtain financing to complete its
purchase of the Valley Rose Estates under the Agreement. Accordingly, on May
18, 2004, Wasco Project, LLC assigned its rights and obligations under the
Agreement to Cross-Defendant pursuant to an Assignment of Purchase and Sale
Agreement. Cross-Defendant agreed to purchase the Valley Rose Estates from the
City and to assume all obligations, covenants and promises previously made under
the Agreement by Wasco Project, LLC. The City consented to Wasco Project,
LLC’s assignment and agreed to release it from all obligations under the
Agreement.

8. The City conveyed the Valley Rose Estates to Cross-Defendant
pursuant to the Assignment of Purchase and Sale Agreement. Since conveying the
Valley Rose Estates to Cross-Defendant, the City has performed all conditions and
obligations to be performed on its part under the Assignment of Purchase and Sale
Agreement with Cross-Defendant.

9, On or about June 2, 2008, Plaintiff Roger McIntosh filed a First
Amended Complaint, alleging that Cross-Defendant infringed on its copyright by
developing the Valley Rose Estates with copyright protected subdivision plans that
were prepared by Martin-MclIntosh exclusively for The Legacy Group, Ltd. for an
earlier, but failed, attempt to develop the same property. Plaintiff further alleges
that he is now the exclusive owner of the alleged copyright protected plans, having
bought out his former business partner, Mr. Martin, and that he did permit Cross-
Defendant to use the subdivision plans prepared by Martin-McIntosh to develop
the Rose Valley Estates.

10. Plaintiff has also sued the City under a theory of contributory
copyright infringement.

11. The City denies engaging in any acts that constitute contributory

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copyright infringement.

12. If, as is alleged in the First Amended Complaint, Cross-Defendant is
infringing on PlaintifPs copyright by using Plaintiff's allegedly copyrighted
subdivision plans to develop the Rose Valley Estates, then the City is entitled to
indemnification by Cross-Defendant pursuant to the Assignment of Purchase and
Sale Agreement insofar as it incorporates section 8 of the Agreement. Specifically,
Cross-Defendant’s operation of the Rose Valley Estates property has resulted in
“claims, demands, losses, obligations, costs and expenses” by Plaintiff against the
City for which the City is entitled to be indemnified by Cross-Defendant.

13. The City has incurred, and continues to incur, necessary and
reasonable attorneys’ fees and other legal costs in prosecuting this action against
Cross-Defendant and in defending itself from Plaintiff's First Amended Complaint.
WHEREFORE, Cross-Complainant prays for judgment as follows:

1. For all damages, if any, adjudged against Cross-Complainant with
respect to Plaintiff's cause of action against Cross-Complainant for contributory
copyright infringement.

2. For all Cross-Complainant’s attorneys’ fees and costs incurred in
defending and resolving Plaintiffs claims for contributory copyright infringement;
and

3. For such other relief as the court may deem proper.

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Cross-Complainant demands a trial by jury on all issues triable of right by a

jury.

JURY TRIAL DEMAND

Respectfully Submitted,

Dated: JULY 21, 2008 GARCIA, CALDERON & RUIZ, LLP

4827-1732-0706

Chaka C. OKadigbo
Attorneys for Defendants
CITY OF WASCO

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CROSS-COMPLAINT FOR CONTRACTUAL INDEMNITY

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PROOF OF SERVICE

I declare that I am over the age of eighteen (18) and not a party to this action. My|
business address is 500 South Grand Avenue, Suite 1100, Los Angeles, California 90071.

On July 21, 2008, I served the following document: CROSS-COMPLAINT FOR
CONTRACTUAL INDEMNITY [California Civil Code § 2772]; JURY TRIAL DEMAND
on the interested parties in this action by placing a true and correct copy of such document,
enclosed in a sealed envelope, addressed as follows:

James J. Braze
Borton, Petrini, LLP
1600 Truxtun Avenue
Bakersfield, CA 93301

Steven John Hassing

Law Offices of Steven J. Hassing
Five Sierragate Plaza

Suite 330

Roseville, CA 95678

(X) BY MAIL: I am readily familiar with the business’ practice for collection and
processing of correspondence for mailing with the United States Postal Service. |
know that the correspondence was deposited with the United States Postal Service
on the same day this declaration was executed in the ordinary course of business,
I know that the envelope was sealed and, with postage thereon fully prepaid,
placed for collection and mailing on this date in the United States mail at Los
Angeles, California.

() BY OVERNIGHT COURIER: I caused the above-referenced document(s) to
be deposited in a box or other facility regularly maintained by the overnight
courier, or I delivered the above-referenced document(s) to an overnight courier
service, for delivery to the above addressee(s).

() BY HAND-DELIVERY: | caused the above-referenced document(s) to be hand-
delivered to the addressee(s)

() (State) I declare under penalty of perjury under the laws of the State of
California that the above is true and correct.

(X) (Federal) I declare that I am employed in the office of a member of the bar
of this court at whose direction the service was made.

Executed July 21, 2008, Los Angeles, California.

(aid yor—3

Carolyn Dofninguez J L"

